         Case 1:15-cr-00233-DAD Document 128 Filed 02/02/17 Page 1 of 2


 1    PHILLIP A. TALBERT
      United States Attorney
 2    HENRY Z. CARBAJAL III
      Assistant United States Attorney
 3    2500 Tulare Street, Suite 4401
      Fresno, CA 93721
 4    Telephone: (559) 497-4000
      Facsimile: (559) 497-4099
 5
      Attorneys for Plaintiff
 6    United States of America

 7

 8                                      UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                         No. 1:15-CR-00233-DAD-BAM

12                         Plaintiff,                   AMENDED ORDER FOR FORFEITURE
                                                        MONEY JUDGMENT
13            v.

14    VICTOR HUGO SORIANO-VILLAFAN,

15                         Defendant.

16

17            Based upon the United States’ Amended Application for Forfeiture Money Judgment and

18    the entry of guilty plea as to defendant Victor Hugo Soriano-Villafan,

19            IT IS HEREBY ORDERED that

20            1.       Defendant Victor Hugo Soriano-Villafan shall forfeit to the United States

21    $695,674.39 and the Court imposes a personal forfeiture money judgment against the defendant

22    in that amount.

23            2.       Any funds applied towards such judgment shall be forfeited to the United States of

24    America and disposed of as provided for by law. Prior to the imposition of sentence, any funds

25    delivered to the United States to satisfy the personal money judgment shall be seized and held by

26    the Department of Homeland Security, Homeland Security Investigations, Customs and Border

27    Protection, in its secure custody and control.

28    /////
     AMENDED ORDER FOR FORFEITURE MONEY JUDGMENT        1
        Case 1:15-cr-00233-DAD Document 128 Filed 02/02/17 Page 2 of 2


 1            3.       This Order of Forfeiture shall become final as to the defendant at the time of his

 2    sentencing and shall be made part of the sentence and included in the judgment.

 3            4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

 4    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 5    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 6    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 7            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 8    Order of Forfeiture to substitute property having a value not to exceed $695,674.39 to satisfy the

 9    money judgment in whole or in part.

10    IT IS SO ORDERED.
11
          Dated:      February 2, 2017
12                                                           UNITED STATES DISTRICT JUDGE

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     AMENDED ORDER FOR FORFEITURE MONEY JUDGMENT         2
